                                                 Case 17-64941-sms                     Doc 71    Filed 07/30/21 Entered 07/30/21 17:16:53                                       Desc
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                                                                     Individual Estate Property Record and Report
                                                                                      Asset Cases
Case No.:    17-64941-SMS                                                                                                                     Trustee Name:        (300320) S. Gregory Hays
Case Name:      BURGESS, ROGER CARROLL                                                                                                        Date Filed (f) or Converted (c): 08/28/2017 (f)
                                                                                                                                              § 341(a) Meeting Date:       09/28/2017
For Period Ending:      06/30/2021                                                                                                            Claims Bar Date: 05/05/2021

                                                      1                                               2                              3                            4                      5                          6

                                              Asset Description                                    Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                   (Scheduled And Unscheduled (u) Property)                      Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                                    Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                                       and Other Costs)                                                             Remaining Assets

    1*      2017 DODGE JOURNEY, 4500 miles (See Footnote)                                                 23,718.00                                0.00           OA                                 0.00                        FA

    2       WASHER/DRYER COMBO, REFIRGEARTOR,KiTCHENWARE, FURNITURE                                        1,500.00                                0.00           OA                                 0.00                        FA
            Asset abandoned per Section 554(c) on 8/2/18.

    3       LED 32 TV, CPU & PRINTER, STERO &SPEAKERS                                                          500.00                              0.00           OA                                 0.00                        FA
            Asset abandoned per Section 554(c) on 8/2/18.

    4       TOOLS AND STORAGE CHEST                                                                            500.00                              0.00           OA                                 0.00                        FA
            Included on original schedules but not on amended schedules. Asset abandoned
            per Section 554(c) on 8/2/18.

    5       EVERYDAY WEAR NO DESINGER ITEMS                                                                    350.00                              0.00           OA                                 0.00                        FA
            Asset abandoned per Section 554(c) on 8/2/18.

    6       A DIGITAL WATCH                                                                                     45.00                              0.00           OA                                 0.00                        FA
            Asset abandoned per Section 554(c) on 8/2/18.

    7       INSULIN PUMP                                                                                   3,000.00                                0.00           OA                                 0.00                        FA
            Asset abandoned per Section 554(c) on 8/2/18.

    8       Deposits of money: Checking account                                                                  0.00                              0.00                                              0.00                        FA
            Asset imported in error.

    9       401 (k) or similar plan: GWINNETTE PUBLIC SCHOOL SYSTEM                                              3.00                              0.00           OA                                 0.00                        FA
            Included on original schedules but not on amended schedules. Exemption amount
            amended. Asset abandoned per Section 554(c) on 8/2/18.

    10      Cash                                                                                                20.00                              0.00           OA                                 0.00                        FA
            Value amended from $40 to $20. Asset abandoned per Section 554(c) on 8/2/18.

    11      Class Action Medical Claim Settlement (u)                                                     48,796.25                          27,636.24                                               0.00               115,530.95
            Order allowing exemption of $21,160 entered on April 8, 2021, Dkt # 66.

    12      Security Deposit (u)                                                                           1,000.00                                0.00                                              0.00                        FA
            Included on Schedule C of amended schedules but not on amended Schedule B.
            Added based on intent of pro se debtor. This is likely a post petition asset as it
            was not listed on original schedules.
                                             Case 17-64941-sms                         Doc 71   Filed 07/30/21 Entered 07/30/21 17:16:53                                     Desc
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                                                                                     Form 1
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                                                  1                                                  2                             3                           4                      5                        6

                                          Asset Description                                       Petition/                Estimated Net Value          Property Formally         Sale/Funds              Asset Fully
                               (Scheduled And Unscheduled (u) Property)                         Unscheduled           (Value Determined By Trustee,        Abandoned            Received by the        Administered (FA)/
                                                                                                   Values                Less Liens, Exemptions,       OA=§554(a) abandon.          Estate              Gross Value of
  Ref. #                                                                                                                     and Other Costs)                                                          Remaining Assets


   12       Assets             Totals       (Excluding unknown values)                                   $79,432.25                       $27,636.24                                          $0.00            $115,530.95


     RE PROP# 1           Included on original schedules but not on amended schedules. Asset abandoned per Section 554(c) on 8/2/18.




        Major Activities Affecting Case Closing:
                                     8/2/2018 - The case was filed on 8/28/2017. On 11/7/17, Trustee held and concluded the section 341 meeting. On July 2,
                                     2018, the trustee filed a report of no distribution based on information known to him that time and the case was closed as a no asset case on 8/2/2018.

                                     January 2021 - Trustee was contacted by an attorney representing the Debtor in a class action, personal injury claim action claim regarding a proposed
                                     settlement and a proposed net payment to the Debtor.

                                     1/21/21 - An order was reopened the case and Trustee was reappointed on 2/2/2021.

                                     4/8/21 - An order was entered approving the Trustee's objection to the Debtor's exemption in the personal injury claim.

                                     5/13/21 - An order was entered approving the Trustee's application to employ special counsel in the personal injury claim.

                                     7/14/21 - The settlement terms including liens and expenses have been resolved and the Trustee anticipates filing a motion requesting authority to
                                     approve the settlement.

        Initial Projected Date Of Final Report (TFR):                     07/02/2018                                   Current Projected Date Of Final Report (TFR):                      12/31/2022


             07/30/2021                                                                                                  /s/S. Gregory Hays

                 Date                                                                                                    S. Gregory Hays
